AFFIDAVIT 5:06 MJ 5134

I, Mark McMurtry, Special Agent of the Federal Bureau of

Investigation (FBI), hereinafter referred to as the Affiant,
being duly sworn, state that:

1. Your Affiant is an investigative law enforcement
officer of the United States within the meaning of Section
2510(7) of Title 18, United States Code, as a Special Agent of
the FBI. As such, your Affiant is empowered to conduct
investigations of and to make arrests for offenses enumerated in
Title 18, United States Code, Section 2516. Affiant has been
employed by the FBI for the past eleven (11) years. Your Affiant
has spent the past five and a half years assigned to the FBI’s
Cleveland Division, Canton Resident Agency. For the majority of
his employment with the FBI, your Affiant has been assigned
responsibilities to investigate Federal crimes involving
narcotics, money laundering, violent crime, fugitives, and
general criminal matters. In addition to being assigned to the
Canton Resident Agency of the FBI your Affiant has been assigned
to the Stark County, Ohio Violent Crimes/Fugitive Task Force as
the Unit Coordinator. At all times during the investigation
described in this affidavit, your Affiant has been acting in an
official capacity as a Special Agent of the FBI.

2. Since July of 2001, Affiant has participated in

numerous narcotics investigations which have identified MICHAEL
, MILLER as being involved in money laundering activities in the
Canton, Ohio Area. As a result of your Affiant's participation
in this investigation, and reports to the Affiant by other SAs of
FBI, other federal and state law enforcement officers, reliable
confidential sources and witnesses, your Affiant is familiar with
the facts and circumstances described in this affidavit.

3. Affiant alleges the facts and circumstances contained
in this affidavit show probable cause that PAUL MONEA, MICHAEL D.
MILLER, and others have committed and are currently committing
offenses involving violations of Title 18, United States Code,
Sections 1956 (a) (3); and (h) (Laundering Monetary Instruments
and Conspiracy).

4. Affiant submits this affidavit in support of criminal
complaints charging PAUL MONEA and MICHAEL D. MILLER with
Conspiracy to Launder Monetary instruments in that they from at
least as early October 15, 2006, and continuing until the
present, in the Northern District of Ohio, Eastern Division, and
elsewhere, along with others known and unknown, did knowingly
and intentionally combine, conspire, confederate, and agree
together and with diverse other persons, both known and unknown,
to knowingly and intentionally conduct and attempt to conduct a
series of financial transactions affecting interstate commerce,
which transactions involved the proceeds and/or represented
proceeds of a specified unlawful activity; that is, conspiracy to

distribute controlled substances, in violation of Title 21,
United States Code, Section 846, possession of controlled
substances with intent to distribute and distribution of
controlled substances, in violation of Title 21, United States
Code, Section 841, knowing that the transaction involved the
proceeds of some form of unlawful activity; and knowing that the
transactions were designed in whole or in part to conceal the
nature, location, source, ownership or the control of the
proceeds of said unlawful activity, in violation of Title 18,
United States Code, Section 1956 (a) (1) (B) (I);

all in violation of Title 18, United States Code, section

1956(h).
BASIS OF INFORMATION
5. Except as otherwise noted, the information set forth in

this affidavit has been provided to your Affiant by FBI Agents,
Officers of the FBI Violent Crime Task force, members of the
Metro Unit, the Canton, Ohio Police Department, or other law
enforcement agents or officers. Unless otherwise noted, whenever
in this affidavit, Affiant asserts that a statement was made, the
information was provided by another law enforcement officer (who
may have had either direct or hearsay knowledge of the statement)
to whom Affiant has spoken or whose report Affiant has read and
reviewed. Likewise, information resulting from physical
Surveillance, except where otherwise indicated, does not
necessarily set forth Affiant’s observations, but rather has been

provided directly or indirectly through members of the Metro
Unit, the Canton, Ohio Police Department, the Alliance, Ohio
Police Department, or other law enforcement officers who
conducted such surveillance. Any information pertaining to
vehicles and/or registrations, personal data on subjects or
record checks has been obtained through the Law Enforcement
Automated Data System (LEADS) from the State of Ohio or the
National Crime Information Center (NCIC) computers by members
herein described.

6. Since this Affidavit is being submitted for the limited
purpose of securing criminal complaints and arrest warrants, your
Affiant has not included each and every fact known to him
concerning the investigation. Affiant has only set forth the
facts he believes are necessary to establish the foundation for
the requested criminal complaints and arrest warrants.

BACKGROUND

7. In July of 2003, the FBI and the Stark County, Ohio
Violent Crimes Task Force joined with the Internal Revenue
Service, and other local law enforcement agencies in initiating
an investigation into the money laundering activities of subjects
in the Stark County, Ohio area. This investigation led to the
introduction of an FBI undercover agent to PAUL MONEA by MICHAEL
D. MILLER. That introduction occurred on March 30, 2006. Since
that introduction Affiant and other investigators have developed
evidence which establishes probable cause to believe that these

subjects have and continue to violate Title 18 United States
Code, Sections 1956(a) (3) and (h), that is Conspiracy to Launder

Monetary Instruments:

SUBJECTS
Name: MICHAEL D. MILLER
DOB: 1/XX/40
SSN: XXK-XX-5429
Address: CG, Jackson Twp., Ohio
Height: 6'2"
Weight: 165 lbs.
Alias: Mickey
Name: PAUL MONEA
DOB: 9/XX/46
SSN: XXX-XX-6511
Address: GE, Alliance, Ohio
Height: 5*10"
Weight: 185 lbs.

MONEY LAUNDERING ACTIVITY BY MICHAEL MILLER

PROBABLE CAUSE: BACKGROUND

8. On April 2, 2004, an FBI Undercover Agent, utilizing
the name John Rizzo, hereafter referred to as UCE 3124 was
introduced to MILLER by a source.

9. On March 30, 2006 MILLER introduced UCE 3124 to PAUL
MONEA. MILLER, MONEA, UCE 3124 and DAVE LNU traveled to the
former estate of Mike Tyson at 3737 State Route 534 Southington,
Ohio. MONEA explained that he had purchased the estate prior to
being sent to Federal Prison for charges stemming from an IRS
investigation. MONEA advised that the estate was in the name of

a trust created by MONEA. MONEA and UCE 3124 discussed the
possibility of UCE 3124 investing money with MONEA. UCE 3124
asked, "How much problems you think are gonna be generated by the
cash?" MONEA stated, "From you?" UCE replied "Yeah" and MONEA
stated, "I gotta think about that one overnight." Later in the
conversation MONEA asked, "Let me ask you another question.
You're looking for things that you can put cash money
into....that I don't wanna use the word legitimize. What's the
word I'm looking for." UCE 3124 stated, "I don't like that word
(laughs)." MONEA replied, "That gives you uh...interests in
legitimate businesses that you can generate a cash flow from so
that you have a return on your capital." UCE 3124 advised MONEA
that he wants to be able to pay taxes and MONEA inquired
regarding the amount of money that UCE 3124 would be willing to
invest. The two agreed to stay in contact and continue to engage
in general conversation.

10. On October 17, 2006, UCE 3124 met with MICHAEL MILLER

and PAUL MONEA at MICKEY MILLER CHEVROLET at 869 Broad Street,

Wadsworth, Ohio. UCE 3124 was wearing a recording device that

was operational during the meeting. The three traveled to lunch
during which MONEA showed UCE 3124 what he represented to be a 43
karat diamond that MONEA was attempting to sell. MONEA, who had
spoke to UCE 3124 about the diamond during a previous meeting,
advised UCE 3124 that he would provide a commission to UCE 3124
if UCE 3124 could find a buyer for the diamond. UCE 3214 advised

that since the last time UCE 3124 had seen MONEA he had talked to
a possible buyer for the diamond. UCE 3124 expressed his concern
regarding the possible transaction and informed MONEA and MILLER
that it was to be regarded as a serious nature and if MONEA tried
to pull a fast one on the UCE 3124's associate both UCE 3124 and
MONEA would end up dead.

ll. Once MONEA departed UCE 3124 and MILLER continued to
discuss their business opportunities. After discussing their
business dealings, UCE 3124 and MILLER again discussed the
possible diamond transaction with PAUL MONEA. MILLER assured UCE
3124 that the diamond was legitimate and advised that MILLER was
the trustee of MONEA's trust. The two continued to discuss the
diamond before UCE 3124 departed.

12. On October 23, 2006, UCE 3124 telephoned PAUL MONEA at
330-495-3701. The telephone conversation was recorded. UCE 3124
advised MONEA that UCE 3124's friend was interested in the
diamond that MONEA's was attempting to sell. UCE 3124 and MONEA
discussed the possibility of UCE 3124's buyer seeing the diamond
during the first week in November while MONEA would be in Las
Vegas, Nevada.

13. On November 2, 2006, UCE 3124 met PAUL MONEA and Scott
Last Name Unknown (LNU) at the Silverton Hotel in Las Vegas,
Nevada. UCE 3124 was wearing a recording device that was
operational during the meeting. The three traveled in UCE 3124's
vehicle from the Silverton to the Venetian Hotel to meet UCE

3124's associate, UCE 3247, who was posing as the individual
interested in purchasing the 43 karat diamond from PAUL MONEA.
While traveling in the car. UCE 3124 asked if he could speak in
front of Scott LNU and MONEA replied affirmatively. UCE 3124
stated, "I'm just concerned, these guys...I make a lot of money
with these guys, okay, a ton." UCE 3124 continued, "I don't
wanna propose that I put you with them and everything goes well
and then you have second thoughts after I vouch for you and
committed." MONEA replied, "I understand how that works." MONEA
expressed concern regarding accepting a cash payment for the
diamond and stated, "They can give me a bigger boat, they can
throw in an airplane they want to get rid of and buy a bigger
one. And that's a way for the them to turn their liquid assets
into hard assets." UCE 3124 replied, "But they still gotta use
money to do that." MONEA stated, "Yeah, but they would use their
cash someplace else." MONEA advised "In another country they can
buy planes for cash and I don't think anyone would ask
questions." MONEA advised, "My situation is special, because I
have to assume that everything that I do is looked at.” (Law
enforcement is watching MONEA's activity). UCE 3124 responded,
"Yeah, and I told him about that. That was a little bit of his

concern. I'm really gonna be up front with you. I make a lot of

money with these guys. They don't sell coffee beans." MONEA
Stated, "I don't wanna know." UCE 3124 informed, "Well you gotta
know because you gotta know how these guys..." MONEA

interrupted, "Tobacco or something. They sell stuff in
commodity." UCE 3124 stated, "They're drug dealers." MONEA
replied, "Now why did you have to make a point to tell me that?"
UCE 3124 stated, "Because I've got to tell you that because you
have to know their mind set. They are businessmen, but that's
their business. They won't...they are going to be up front with
you because they want you to be one-hundred percent comfortable
with what's going on. Now they won't ever bring it up again."
Following a telephone call that MONEA received, UCE 3124
continued, "Have in you mind the kind of people they are. Very
honorable, very honorable people." MONEA then explained how in
the past he had to deal with the "mob" and found them to be very
honorable. UCE 3124 explained, "I don't want to lie to you. I
want everything on the table?" MONEA stated, "As long as the
money is coming from somewhere legal." UCE 3124 responded, "It's
coming from wherever it comes from and you guys deal with that."
UCE 3124, MONEA, and Scott LNU then discussed the diamond deal
before MONEA explained, "Drug dealers are businessmen, but drug
dealers also have other businesses that are legitimate
businesses. So I'm selling this to a businessman. Okay and he
is paying me with legitimate money." Following more discussion
MONEA exclaimed, "Hey Scott, you know how I am deaf in my left
ear and my hearing aid battery comes and goes." Scott LNU
replied, "Yeah." Following a brief phone call MONEA continues,

"So anyhow Scott the point is, I don't have a problem doing any
business with rug dealers, do you?" Scott Lnu replied, "Rug
dealers? No I love rug dealers."

14. UCE 3124, PAUL MONEA, and Scott LNU then arrived at the
Venetian Hotel and Casino and met UCE 3247 in UCE 3247's room.
The four individuals engaged in general conversation while eating
brunch that was served in UCE 3247's room. Following the meal UCE
3247 and MONEA discussed the possibility of UCE 3247 purchasing
the 43 karat diamond and an estate in Southington, Ohio. MONEA
explained the history and the quality of the diamond owned by
MONEA's trust. MONEA explained that he had the ability to
provide UCE 3247 additional diamonds in the future and he and UCE
3124 were hoping to establish a relationship with UCE 3247 that
included continuing business. MONEA explained he could sell the
diamond and the UCE 3247 explained, "How bout the cash, because
you was telling me you wanted transfers. That cost me money.
I've got to pay people to be able to transfer the money. I got
people that charge me four points, five points. What can you do
with that? Can you help me with that?" MONEA asked, "They
charge you five points to move the cash?" MONEA continued, "I
told John that with Homeland Security Act. You know what that
is? Homeland Security Act. They examine all wire transfers that
come through here. They want to make sure it's not coming from
terrorist organizations. So I have to assume. I met with my
attorney and he said ‘Paul’ he says ‘I'm saying there is a

possibility not a probability but a possibility that this money

10
is going to be looked at.’ Is that a problem?" UCE 3247 stated,
"That's going to be a problem for me." MONEA explained that his
attorney advised that if the diamond is sold for fair market
value and one doesn't have a responsibility to find out about the
origin of the money. MONEA stated that taking cash is difficult
but advised that he is willing to pay UCE 3247 the “five
points". UCE 3247 explained that it would take awhile to move
the money into transfers. UCE 3247 advised, "I will have to go
back to Miami to see how quickly my men can handle that.” (moving
of the money) MONEA agreed to split the cost of moving the money
into accounts to transfer. UCE 3247 again urged MONEA to take
the cash and advised "I have a house full of it (cash)" UCE 3247
advised that it would take 30-45 days to put the money in a
position to be wire transferred. MONEA then agreed to sell the
diamond and the estate in exchange for 19.5 million and a boat.
UCE 3247 advised that UCE 3247 would have someone come to Ohio to
view the diamond and the property.

15. On November 2, 2006, UCE 3124, UCE 3247, and PAUL MONEA
met for dinner at the Prime Rib Loft at the Orleans Hotel and
Casino. UCE 3124 was wearing a digital recorder which was
operational during the meeting. Following dinner UCE 3124 and
MONEA spoke in the parking lot of the Orleans. The two discussed
UCE 3124's commission on the sale of the diamond and MONEA
advised that he wanted $500,000 in "good faith" money wired from

UCE 3247's people to his attorney's account for which MONEA

11
provided wiring instructions. The two then argued about where
the money should be wired and the possibility of setting up an
account controlled by both UCE 3124 and MONEA's attorney for
purposes of security of the $500,000. MONEA expressed concern
stating, "Do you want to be tied to the trust (MONEA's trust) on
paper? Do I want the trust to be tied to you on paper, because
it is that. Bank, FDIC those signatures, social security numbers
are all recorded and they are in the computer forever." MONEA
expressed further concern regarding a check from UCE 3124 to
MONEA's attorney and being "at arm's length from the sale (sale
of the diamond)." MONEA stated, "If anyone comes knocking on the
door down the road, they are knocking on the attorney's door. A
lot of it goes directly to the trust (UI). They'll knock on
MICKEY's door." MONEA advised UCE 3124 to "lean on" UCE 3247 for
the $500,000 and stated that he would talk to his attorney about
setting up a new bank account. The two engaged in further
conversation regarding the transaction before MONEA departed.

16. On November 6, 2006, UCE 3124 contacted PAUL MONEA on
telephone number 330-495-3701. The conversation was recorded.
UCE 3124 questioned MONEA regarding his meeting with MONEA's
attorney during which they were to discuss the possibility of
opening an account so that UCE 3247 could wire “good faith" money
regarding the diamond purchase. MONEA stated, "My attorney said
Paul I can guarantee you that if we go in the bank and open a new

checking account with your friend's name on it and mine and we

12
wire five hundred thousand dollars to it the FBI is going to be
all over that like stink on shit and I'm quoting him." MONEA
then explained that his attorney advised that a "Suspicious
transaction" would be reported with a $500,000 deposit. MONEA
and UCE 3124 then discussed the possibility of UCE 3247 wiring
$100,000 into MONEA's attorney's trust account. UCE 3124 advised
that it should not be a problem and the MONEA agreed to email UCE
3124 the wiring instructions.

17. On November 6, 2006, UCE 3124 telephoned MILLER at
telephone number 330-904-3580. The conversation was recorded.
MILLER advised that he was present during a meeting with MONEA
and MONEA'’s attorney when they discussed the possible transaction
with UCE 3247 and the diamond. UCE 3124 and MILLER discussed
MONEA's request to wire money as "good faith". During
conversation regarding the wire transfer for payment of the
diamond MILLER stated, "I would not wire it all at one time. I
would wire it over a few payments." MILLER advised that these
monies would go to the attorney's office and advised, "These
banks that handle these wire transfers they are under orders that
if they see something unusual they are supposed to call the
authorities and let's say they call the FBI and say, ok, we have
a five hundred, we have a five million dollar wire in." MILLER
continued, "The FBI calls the attorney and says what the hell is
with this...and the attorney says, he who has been in business

seventy five years says this is a legitimate deal." MILLER

13
added, "Now when it gets wired from the attorney to the trust the
money has already cleared." UCE 3124 informed MILLER that UCE
3247 offered cash and MILLER stated, "Yeah, but you can't do
that.” UCE 3124 advised that he was willing to pay more if MONEA
would take cash because "he has a lot of cash." MILLER replied,
"Yeah, I know. It would be a tough thing (accepting cash). A
bank wire is one hundred percent legitimate." Later in the
conversation MILLER laughed about UCE 3124 making a million
dollars in commission off of three days work. MILLER advised
that he couldn't make that amount in five years. UCE 3124 asked,
"You want to make that much? I can help." MILLER stated, "Yeah"
and UCE 3124 laughed. MILLER replied, "I gotta do it this way
buddy." UCE 3124 and MILLER then discussed MICKEY MILLER
CHEVROLET and MONEA. MILLER advised that he controls the
checkbook for MONEA's trust account and when discussing the
diamond deal stated, "The money that is being wired in, according
to Paul's (MONEA) attorney, if the money is being wired in where
it came from (origin of the money) is none of our freakin'
business." The two continue to engage in conversation regarding
the possible transaction and agree to speak at a later date.

18. On November 7, 2006, UCE 3124 retrieved an email from
PAUL MONEA with instructions for wiring money to MONEA's
attorney's account. The email advised that the money should be
wired to Amer-Cunningham Co. LPA-IOLTA, account number XXXX196,

ABA XXXXXX124, National City Bank, Akron, Ohio.

14
19. On November 7, 2006, UCE 3124 contacted PAUL MONEA on
telephone number 330-495-3701. The conversation was recorded.
UCE 3214 advised that UCE 3124 had received the wiring
instructions and told MONEA that the money would be wired on
Thursday (November 9, 2006). UCE 3124 advised that $50,000 was
going to be wired on Thursday and $50,000 the following week.

20. On November 9, 2006, $50,000 was wired to the Amer-
Cunningham Co. LPA-IOLTA, account number XXXX196, ABA XXXXXX124,
National City Bank, Akron, Ohio.

21. On November 9, 2006, UCE 3124 contacted PAUL MONEA on
telephone number 330-495-3701. The conversation was recorded.
UCE 3124 advised MONEA that $50,000 had been wire transferred to
an account provided to UCE 3124 by MONEA. MONEA inquired when
the remaining $50,000 would be sent and UCE 3124 advised next
week as "...soon as they can get it (cash) in and move it through
the accounts." UCE 3124 and MONEA engaged in general
conversation before the conversation was completed.

22. On November 13, 2006, UCE 3124 contacted PAUL MONEA via
telephone number 330-495-3701. The conversation was recorded.
UCE 3124 advised "They're gonna put more money in the account on
Friday." MONEA asked if UCE 3124 was concerned about the passage
of time and UCE 3124 stated, "He said it's gonna take uh...thirty
to forty-five days to get that money the way he wanted it." The

two say goodbye and the conversation ended.

15
23. On November 13, 2006, UCE 3124 contacted MICHAEL MILLER
at telephone number 330-904-3580. The conversation was recorded.
UCE 3124 and MILLER discussed the pending diamond transaction
between UCE 3124's associates and MONEA. UCE 3124 advised, "The
guy (UCE 3247) told us it takes thirty to forty-five days to move
nineteen and a half million dollars.” MILLER replied, "That's
right." UCE 3124 stated, "You can't move nineteen and a half
million dollars easily overnight." MILLER replied, "Not any
more." UCE 3124 stated, “He (UCE 3247) gave Paul (MONEA) the
time frame. He says and I gotta pay to do that. He's gotta pay
five percent to do it. (move the money into a financial
institution)" MILLER told UCE 3124 that MONEA better not push to
hard or the deal might fall through. UCE 3124 informed, "He
(MONEA) goes well do you think it's...it's uh..odd that it's
taking this long of a time. I go, no, he (UCE 3247) told you. I
said he...he offered you cash and you said no. I mean he offered
it right away, cash, and you said no. So...you gotta wait.”
MILLER replied, "It takes a little time to wire that kind of
money." UCE 3124 then explained that UCE 3124 needed $10,000 to
clear up a debt and asked MILLER if he could deposit the money in
UCE 3124's account. MILLER advised that UCE 3124 had several
paychecks waiting for him and stated that maybe he could provide
an advance to cover the rest. UCE 3124 stated, "I got to clear
something up that I need a...a solid check for." UCE 3124

provided MILLER with his account number so MILLER could make the

16
deposit and the two engaged in general conversation before the
call ended.

25. On November 13, 2006, your affiant obtained a list of
residents living in a gated community known as Glenmoor in
Jackson Township, Ohio. According to records provided by the
security department and titled "Glenmoor Resident's Roster"
MICKEY MILLER and NANCY MILLER reside at Qi?
Jackson Twp., Ohio.

26. On November 17, 2006, $45,000 was wired to the National
City Bank, Akron, Ohio, ABA XXXXXX124, Account number XXXX1 96,
Account name Ameri-Cunningham Co. LPA-IOLTA, per instructions of
PAUL MONEA.

27. On November 20, 2006, $5,000 was wired to the National
City Bank, Akron, Ohio, ABA XXXXXX124, Account number 4405196,
Account name Amer-Cunningham Co. LPA-IOLTA, per instructions of
PAUL MONEA.

28. On November 28, 2006, your affiant spoke with Larry
Grimes of the United States Probation Office. Grimes advised
that MONEA is on Federal supervised release. As condition of
this release MONEA is required to supply an address where he is
residing and if at any time MONEA should move his residence he
has 72 hours to report the change of address. Grimes advised
that upon his release from prison in November of 2005, MONEA

supplied Grimes' office with an address of residence of aap

Ga. A iance, Ohio. Grimes advised that officials from

17
his office were out to visit MONEA at GE in June
of 2006.
SUMMARY AND CONCLUSION

29. Based upon the facts and circumstances set forth above,
Affiant has probable cause to believe, and does believe that
MICHAEL MILLER, PAUL MONEA and others known and yet unknown, in
the Northern District of Ohio, Eastern Division, the District of
Nevada, and elsewhere have and continue to knowingly and
intentionally combine, conspire, confederate, and agree together
and with diverse other persons, both known and unknown, to
knowingly and intentionally conduct and attempt to conduct a
series of financial transactions affecting interstate commerce,
which transactions involved the proceeds and/or represented
proceeds of a specified unlawful activity; that is, conspiracy to
distribute controlled substances, in violation of Title 21,
United States Code, Section 846, possession of controlled
substances with intent to distribute and distribution of
controlled substances, in violation of Title 21, United States
Code, Section 841, knowing that the transaction involved the
proceeds of some form of unlawful, or represented as unlawful,
activity; and knowing that the transactions were designed in
whole or in part to conceal the nature, location, source,
ownership or the control of the proceeds of said unlawful
activity, in violation of Title 18, United States Code, Section

1956(a) (1) (B) (I), and (a) (3);

18
all in violation of Title 18, United States Code, section
1956 (h).

mA

Mark McMurtry
Special Agent
Federal Bureau of Investigation

Sworn to and subscribed before me this 12 day of

December , 2006.

19
